
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. &nbsp;2-10-087-CV





KENYEN DAMON MOORE	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM CRIMINAL DISTRICT COURT NO. 4 OF TARRANT COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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Appellant Kenyen Damon Moore filed this appeal from an order signed by Judge Jeff Walker, Presiding Judge of the Eighth Administrative Judicial Region of Texas, denying Appellant’s motion to recuse a trial court judge. &nbsp;On March 26, 2010, we notified Appellant of our concern that we lack jurisdiction over the appeal because there has been no final judgment of conviction. &nbsp;
See, e.g.
, 
Wright v. State
, 969 S.W.2d 588, 589 (Tex. App.—Dallas 1998, no pet.); 
McKown v. State
, 915 S.W.2d 160, 161 (Tex. App.—Fort Worth 1996, no pet.); 
see also Woodard v. Eighth Court of Appeals
, 991 S.W.2d 795, 797 (Tex. Crim. App. 1998) (orig. proceeding) (holding that complaint regarding recusal of trial court judge should not be addressed until appeal from final judgment). &nbsp;We further stated that unless Appellant or any party desiring to continue the appeal filed a response showing grounds for continuing the appeal on or before April 5, 2010, the appeal could be dismissed for want of jurisdiction. &nbsp;
See
 Tex. R. App. P. 44.3.

Appellant filed a response, but it does not state valid grounds for continuing the appeal. &nbsp;Appellant does not cite, nor have we found, any authority conferring jurisdiction on this court to consider his appeal at this time. &nbsp;Thus, we dismiss the appeal for want of jurisdiction. &nbsp;
See
 Tex. R. App. P. 42.3(a), 43.2(f).

PER CURIAM



PANEL: GARDNER, WALKER, and MCCOY, JJ.



DELIVERED: &nbsp;April 29, 2010

FOOTNOTES
1:See
 Tex. R. App. P. 47.4.




